                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 ROBERT A. ERVIN,                                  )
                                                   )
               Petitioner,                         )
                                                   )
 v.                                                )       Nos.: 3:10-CR-11
                                                   )             3:13-CV-347
 UNITED STATES OF AMERICA,                         )             (VARLAN/SHIRLEY)
                                                   )
               Respondent.                         )


                                     MEMORANDUM

        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Robert A. Ervin ("petitioner") with the assistance of counsel. Petitioner

 seeks to vacate his sentence in light of the Fair Sentencing Act of 2010 ("FSA") and the

 recent Supreme Court decision in Dorsey v. United States, 132 S. Ct.2321 (2012), in which

 the Court applied FSA retroactively to pre-FSA offenders sentenced after the FSA effective

 date. In response to the § 2255 motion, the United States does not oppose petitioner's request

 for resentencing and defers to this Court's discretion in modifying petitioner's sentence in

 light of Dorsey, subject to consideration of 18 U.S.C. § 3553(a). Under the circumstances,

 petitioner's § 2255 motion will be GRANTED, his sentence of 60 months will be

 VACATED, and a new sentence of 41 months will be IMPOSED.

        Petitioner pleaded guilty to distributing five grams or more of crack cocaine. His

 advisory sentencing guideline range was 41 to 51 months. Petitioner was, however,

 sentenced to the mandatory minimum term of imprisonment of 60 months in effect at the



Case 3:10-cr-00011-TAV-CCS         Document 148        Filed 10/18/13   Page 1 of 2     PageID
                                         #: 481
 time. Because petitioner is no longer subject to a mandatory minimum term of imprisonment

 based upon the quantity of crack cocaine, the Court finds that a term of imprisonment of 41

 months is an appropriate sentence in this case, in light of the factors set forth in 18 U.S.C.

 § 3553(a). There is no need for an evidentiary hearing on the § 2255 motion nor does the

 Court need to conduct a new sentencing hearing. See United States v. Hadden, 475 F.3d 652,

 669 (4th Cir. 2007) (§ 2255 affords a district court the authority to correct an unlawful

 sentence without the necessity of a formal resentencing hearing).

        Petitioner's motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. §

 2255 will be GRANTED to the extent his sentence of 60 months will be VACATED and

 the Court will IMPOSE a new sentence of 41 months. The Court will enter an Amended

 Judgment to that effect. If this sentence is less than the amount of time the petitioner has

 already served, the sentence is reduced to a "time served" sentence. The Court's Order shall

 take effect ten (10) days from its entry in order to give the Bureau of Prisons time to process

 the release of the petitioner.


        AN APPROPRIATE ORDER WILL ENTER.



                                     s/ Thomas A. Varlan
                                     CHIEF UNITED STATES DISTRICT JUDGE




                                               2


Case 3:10-cr-00011-TAV-CCS         Document 148       Filed 10/18/13     Page 2 of 2     PageID
                                         #: 482
